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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA


IN RE OPERATION OF THE UNITED                     )
STATES DISTRICT COURT FOR THE                     )
MIDDLE DISTRICT OF ALABAMA                        )        2:19-MC-3851
IN THE ABSENCE OF FUNDING                         )
AUTHORITY BY THE UNITED STATES                    )
CONGRESS AND/OR THE PRESIDENT                     )


                                           ORDER

       In the event that, at any time or for any reason, appropriate funding for the operation

of the United States Courts is not made available by the United States Congress and/or the

President, this Order shall become effective.

       The dispensing of justice being an essential part of the functioning of our federal

government, all chambers employees of the United States District Court for the Middle

District of Alabama, Magistrate Judges, the Bankruptcy Judges, and all of the Court

support unit employees, including offices of the District Clerk, the Bankruptcy Clerk, the

United States Probation Office, and the United States Marshal, are deemed necessary and

essential to the resolution of cases and are hereby declared to be such.

       Accordingly, it is ORDERED that all employees of the United States District Court

and United States Bankruptcy Court for the Middle District of Alabama and all support

unit employees are ordered to report to work for their regularly scheduled hours, and to

continue all normal operations of the Court, excepting:

       1.     Travel, other than that necessary to hear cases and conduct the work of the

              Court, shall be avoided. Any travel (except Probation) must be approved by
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              the Chief Judge in advance. Probation travel must be approved in advance

              by Chief Probation Officer or designee.

       2.     No new personnel shall be hired, and no new obligations or expenditures

              shall be made unless absolutely essential to the resolution of cases and

              conroversies or unless expressly authorized by the undersigned.

       It is also ORDERED that the General Services Administration shall provide the

level of services and building maintenance normally provided, and the United States

Marshal Service shall maintain all functions necessary for the appropriate security of all

Judges and Court employees and for the safe use of all Court facilities in the Middle District

of Alabama.

       SO ORDERED this the 14th day of January, 2019.



                                               W. Keith Watkins
                                    CHIEF UNITED STATES DISTRICT JUDGE
